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                   EXHIBIT B
Case 2:25-cv-11026-JJCG-EAS ECF No. 9-2, PageID.1633 Filed 05/01/25 Page 2 of 3



                                                                                         International Centre
                                                                                      Thomas Ventrone, Esq.
                                                                                        ICDR Vice President
                                                                                    120 Broadway, 21st Floor
                                                                                       New York, NY 10271
                                                                                   Telephone: (212)484-4181
                                                                                         Fax: (212)246-7274



 December 27, 2021

 Via Email Only

 Steven M. Zeller
 Dykema Gossett PLLC
 10 South Wacker Drive
 Suite 2300
 Chicago, IL 60606
 Via Email to: szeller@dykema.com

 Timothy P. Monsma
 Varnum LLP
 333 Bridge St NW
 Suite 1700
 Grand Rapids, MI 49504
 Via Email to: tpmonsma@varnumlaw.com


 Case Number: 01-21-0016-2306

 Bosch Automotive Service Solutions Inc.
 -vs-
 Collision Sciences Inc.




 Dear Party Representatives,

 The ICDR has completed the appointment Arbitrator Thomas Cranmer (the “Arbitrator”) to hear the
 above-captioned matter as a sole arbitrator. Enclosed please find copies of the Arbitrator’s duly executed
 Notice of Appointment. Per our rules, all arbitrators are impartial and independent, unless otherwise
 agreed by the parties in the situation of party-appointed arbitrators.

 The Arbitrator has made a disclosure, as detailed on the enclosed Notice of Appointment and attachment.
 Please advise the ICDR of any objections to the appointment of the Arbitrator by January 11, 2022,
 unless a shorter time is agreed to by the parties or determined by ICDR. Please copy all other parties on
 any objections. The Tribunal shall not be copied on any comments related to the disclosure. If any
 objections to the Arbitrator’s appointment are raised, the other party may respond within seven (7) days.
 The ICDR will make a determination regarding the Arbitrator’s continued service in accordance with the
 Rules and within its Administrative Review Council.

 If either party or their counsel knows of any contact or conflict that may be relevant, they are to
 communicate this information to the ICDR within ten (10) days. Each party is responsible for updating its
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 disclosures as such information becomes available. The duty to update this information is ongoing
 through the conclusion of this matter.

 The Arbitrator’s Notice of Compensation Arrangements including the specific compensation rates for this
 matter is attached and is available in WebFile. Compensation to the Tribunal represents an independent
 obligation of the parties, and it is understood that the ICDR/AAA has no liability, direct or indirect, for
 such payment. Each party shall promptly deposit in advance with the ICDR such sums of money as
 required by the administrator to defray the Tribunal’s invoices. Compensation incurred will be deducted
 from deposits on hand, if any. Invoices that reflect an estimated amount of ten (10) hours of the
 Tribunal’s compensation, including study and preliminary hearing time, will be circulated shortly under
 separate cover.

 This letter will also serve to confirm that a preliminary hearing will be scheduled shortly. We kindly ask
 the Tribunal to please confer and inform the parties and the ICDR of the selected time/date as soon as
 practicable.

 There shall be no ex parte communication with the Tribunal at any time beyond what is permitted in the
 rules. Please note that any challenges or financial matters must be exclusively submitted to the
 undersigned.

 As a reminder, cases may be viewed and managed online through AAA's WebFile.

 Sincerely,

 /s/

 Rafael Carlos del Rosal Carmona, LL.M.
 Director
 Direct Dial: (212)484-4180
 Email: RafaelCarmona@adr.org
 Fax: (212)246-7274



 Encl.


 Cc:     The Tribunal (via email)
